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                UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                           Case Nos.: 3:17cr77/MCR/EMT
                                                         3:19cv3285/MCR/EMT
STERLING RANDAL KEEFER
                                      /

                                          ORDER

      The chief magistrate judge issued a Report and Recommendation on October

21, 2021 (ECF No. 69). The parties were furnished a copy of the Report and

Recommendation and afforded an opportunity to file objections pursuant to Title 28,

United States Code, Section 636(b)(1). There have been no timely filed objections.

      Having considered the Report and Recommendation, and the record, I have

determined the Report and Recommendation should be adopted.

      Accordingly, it is now ORDERED as follows:

      1.     The chief magistrate judge’s Report and Recommendation (ECF No.

69) is adopted and incorporated by reference in this order.

      2.     A certificate of appealability is DENIED.

      DONE AND ORDERED this 2nd day of December 2021.


                                   M. Casey Rodgers
                                M. CASEY RODGERS
                                UNITED STATES DISTRICT JUDGE
